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   1                    UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK
   2    - - - - - - - - - - - - - X
         UNITED STATES OF AMERICA,    :   09-CR-00466(BMC)
   3                                  :
                                      :
   4                                  :   United States Courthouse
               -against-              :   Brooklyn, New York
   5                                  :
                                      :
   6                                  :   October 30, 2018
                                      :   9:00 a.m.
   7     JOAQUIN GUZMAN LOERA,        :
                                      :
   8             Defendant.           :
        - - - - - - - - - - - - - X
   9
                TRANSCRIPT OF CRIMINAL CAUSE FOR MOTION HEARING
  10                  BEFORE THE HONORABLE BRIAN M. COGAN
                         UNITED STATES DISTRICT JUDGE
  11
                               A P P E A R A N C E S:
  12

  13   For the Government:         RICHARD P. DONOGHUE, ESQ.
                                        United States Attorney
  14                                    Eastern District of New York
                                        271 Cadman Plaza East
  15                                    Brooklyn, New York 11201

  16                               BY:    GINA M. PARLOVECCHIO, ESQ.
                                          ANDREA GOLDBARG, ESQ.
  17                                      MICHAEL ROBOTTI, ESQ.
                                          ADAM FELS, ESQ.
  18                                      ANTHONY NARDOZZI, ESQ.
                                          AMANDA LISKAMM, ESQ.
  19                                      Assistant United States Attorneys

  20
       For the Defendant:          BALAREZO LAW
  21                                    400 Seventh Street, NW
                                        Suite 306
  22                                    Washington, DC 20004

  23                               BY:    A. EDUARDO BALAREZO, ESQ.

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   1                                 A P P E A R A N C E S: (Continued.)

   2
                                             LAW OFFICES OF JEFFREY LICHTMAN
   3                                              11 East 44th Street
                                                  Suite 501
   4                                              New York, New York 10017

   5                                         BY:      JEFFREY H. LICHTMAN, ESQ.
                                                      PAUL TOWNSEND, ESQ.
   6                                                  MARIEL MIRO, ESQ.

   7

   8   Court Reporter:                       Denise Parisi, RPR, CRR
                                             Official Court Reporter
   9                                         United States Courthouse
                                             225 Cadman Plaza East
  10                                         Brooklyn, New York 11201
                                             Telephone: (718) 613-2605
  11                                         E-mail: DeniseParisi72@gmail.com

  12
       P r o c e e d i n g s r e c o r d e d b y c o m p u t e r i z e d s t e n o g r a p h y.   Transcript
  13   p r o d u c e d b y C o m p u t e r- a i d e d T r a n s c r i p t i o n.

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   1               (In open court.)

   2               THE COURTROOM DEPUTY:            All rise.

   3               THE COURT:    Good morning.

   4               MS. PARLOVECCHIO:        Good morning.

   5               THE COURT:    Have a seat, please.

   6               (Defendant enters the courtroom at 9:05 a.m.)

   7               THE COURTROOM DEPUTY:            United States versus Guzman,

   8   Docket No. 09-CR-466.

   9               Counsel, please state your appearances starting with

  10   the government.

  11               MS. PARLOVECCHIO:        Good morning, Your Honor.         Gina

  12   Parlovecchio for the United States.                 With me at counsel table

  13   is Amanda Liskamm, Adam Fels, Andrea Goldbarg, Anthony

  14   Nardozzi, and Michael Robotti.

  15               THE COURT:    Good morning.

  16               MR. BALAREZO:     Good morning, Your Honor.            Eduardo

  17   Balarezo with Mr. Lichtman, Ms. Miro, and Mr. Townsend on

  18   behalf of Mr. Guzman.

  19               THE COURT:    Good morning.

  20               Good morning, Mr. Guzman.

  21               We are not supposed to be here.               I asked you all at

  22   our last conference if we needed another conference and

  23   everybody said no.     We are here because, notwithstanding those

  24   representations, I have gotten six motions in the last three

  25   weeks, and I have to say, I do not think litigating by frenzy


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   1   and hysteria is an appropriate way to present this case.                   I'm

   2   talking to both sides here.

   3               But first, for the government, we had a briefing

   4   schedule on motions in limine.             We had two tranches.      They

   5   were set up to avoid a flurry of motions.                 I understand I

   6   denied part of them because I did not think the government had

   7   told me enough, but if you want to remedy that, then you have

   8   got 14 days to make a motion for reconsideration, not a week

   9   before trial when we are coming up.                 I am not going to deal

  10   with those today.     The government still has a reply that is

  11   due, and I'm going to wait until I get that reply before I

  12   rule on those motions.

  13               Now, both sides have made to chambers during this

  14   case what I will call panicked telephone calls realizing that

  15   they had filed something publicly that they did not mean to

  16   file publicly and emergency steps have to be taken to seal the

  17   things that are filing.       I got two phone calls Saturday

  18   morning from Mr. Balarezo.          Counsel should know in this matter

  19   that the chambers' phone is monitored 24 hours, so we are

  20   hearing you.    Whether we are going to respond to you is

  21   something else, but we are hearing you.                  The government had

  22   earlier made calls to me like that.                 All of this is indicative

  23   of an environment in which the parties are just in a frenzy

  24   and just filing things as they occur to them, and it is really

  25   got to stop.    We cannot do the whole trial like this, so I am


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   1   going to get increasingly severe about summary denials of

   2   motions that could have been thought of earlier but were not.

   3               Now, I understand the defendants' position that

   4   their current motion for an extension of trial -- I think

   5   there is actually several motions, but they are actually

   6   replies and sur-replies and sur-sur-replies from both sides on

   7   the various motion that has been filed -- I understand they

   8   think they got more than they expected to get.

   9               You have given me a great deal of paper on this.                   I

  10   have read all of the paper.          I do not think there should be

  11   any need to say any more about whether to adjourn the trial,

  12   but we are here, so if anyone has any more they want to say

  13   which is not repetitive, let's go ahead.

  14               Anything from the defense?                   Anything else?

  15               MR. BALAREZO:     Your Honor, with respect to the

  16   motion to continue, just a little bit, the reason we put these

  17   folders here is for the Court to see exactly what it is we are

  18   dealing with.     Hopefully it would help.                 If not, then it's

  19   wasted effort on our part.

  20               THE COURT:    It is not that it does not help.                I have

  21   the same thing in my chambers, so I can get an idea of what it

  22   was, and it looks remarkably similar to that, except I think I

  23   have got black folders.       Other than that, it looks about the

  24   same.

  25               MR. BALAREZO:     It's probably easier reading white on


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   1   white, to be honest with you.

   2               THE COURT:    Could be.

   3               MR. BALAREZO:     The issue here is, Your Honor, we

   4   were obviously aware that the government was going to turn

   5   over the 3500 material a month before trial.              We are not

   6   disputing that; we are not claiming surprise.              The point is,

   7   when we received this material, which is here -- this is

   8   14,000-odd pages that we received -- it is just impossible for

   9   us to review it in time -- not just us, but to review it with

  10   the client.    The client, Mr. Guzman, has a right to see what

  11   the evidence is.     We have to take it to the jail, and because

  12   we can't lug around five, six of these binders, we have to

  13   look at it on the computer with him and translate it as we go

  14   along.

  15               THE COURT:    You understand you are repeating a lot

  16   of the stuff that is in your motion.

  17               MR. BALAREZO:     Then I will sit down, Your Honor.

  18               THE COURT:    But I do want to make one correction to

  19   what you are saying.

  20               MR. BALAREZO:     Yes.

  21               THE COURT:    You have got 14,000 pages.           What we had

  22   contemplated you getting was 25,000 pages.               You've got barely

  23   half, just more than half of what we all anticipated you would

  24   have at this stage.

  25               MR. BALAREZO:     And, Your Honor, I would have made


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   1   the same motion had I gotten 45,000 pages, except I would have

   2   asked for more time.

   3               THE COURT:    Would you have made the same motion if

   4   you had gotten 5,000 pages?

   5               MR. BALAREZO:     Probably not, because that's a little

   6   more manageable, given other cases, but 14,000 pages of

   7   critical material from cooperators who are going to be the

   8   centerpiece of the government's case is excessive, Your Honor.

   9   We cannot --

  10               THE COURT:    Do you know all that material is

  11   important to the cooperators and the centerpiece of the

  12   government's case?

  13               MR. BALAREZO:     Your Honor, the majority of it is

  14   reports of investigations -- multiple, dozens of interviews

  15   with these people that go on for 20, 30 pages.

  16               THE COURT:    Right.

  17               MR. BALAREZO:     Is every single page of 14,000 pages

  18   critical?    No.   There are indictments in there, that kind of

  19   thing.   Obviously, we put those aside.                  We are trying to focus

  20   on what's important, but in order to focus on what's

  21   important, we have to review the material; and it's not only

  22   reading it for one individual, there's a lot of crossover from

  23   one individual to the other that we need to be able to analyze

  24   and digest in order to prepare a proper cross-examination.

  25               THE COURT:    Okay.      There are priority ways of


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   1   analyzing moderate -- and I consider it moderate -- volume of

   2   documents.    14,000 pages in a case like this -- that does not

   3   mean that it cannot be overwhelming.                     It does.   It does not

   4   mean it can't even be too much, but the number 14,000 by

   5   itself, and lining up the folders, that does not strike me as

   6   out of line with the expectations of what I had when you

   7   agreed to this schedule after the last adjournment that I

   8   granted.

   9                All right.   I do not want to cut you off.                    Is there

  10   anything else you need to tell me?

  11                MR. BALAREZO:    Apparently not, Your Honor.

  12                THE COURT:   Anything from the government?

  13                MS. PARLOVECCHIO:       No, Your Honor.

  14                THE COURT:   I am going to make some minor

  15   accommodations to the defense, but I am not going to adjourn

  16   this trial again.     As I have said every time this has come up,

  17   and I have had repeated applications for adjournment, many of

  18   which I have granted, nobody is going to be as ready to try

  19   this case as they would like to be.                 That is an inevitable

  20   part of trying a case this big.              If you took the time to

  21   prepare thoroughly, by the time you got there, you would have

  22   problems with stale information.              You already have some of

  23   those problems.     It would be even worse if we insisted that

  24   everybody have total control of all the documents.                     I

  25   understand the defense, in its characterization, does not


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   1   think they are asking for total control; they are asking for

   2   what they consider to be a reasonable opportunity to prepare

   3   for trial, but I think there has been pretty much enough

   4   opportunity.    The continuance request was raised at the last

   5   conference, the last two conferences -- that was on

   6   October 10th, four days after the government produced 3500

   7   materials for the cooperating witnesses -- and I really do not

   8   see much has changed.      As I say, nothing beyond my

   9   expectations of where we would be at this point and nothing

  10   material.

  11               Again, the government told the defendant that back

  12   in July that the 3500 material would be 25,000 pages.            If the

  13   government had, in fact, produced 50,000 instead of 25,000, we

  14   would have a little issue, but we are at a lesser stage than

  15   we expected to be when this last came up.

  16               What I am going to do for the defense is this:            I am

  17   going to squeeze a little more time out of the schedule to

  18   help by doing two things, and that is really all I think we

  19   can do.    There are too many competing considerations in terms

  20   of putting on a case like this to have yet another lengthy

  21   adjournment.

  22               First, we should all try very hard to pick the jury

  23   next week as reasonably quickly as possible.             One way of

  24   incentivizing us to do that is that to the extent we finish

  25   early in the week, we will not have opening statements until


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   1    the following Tuesday, so those will hopefully squeeze out a

   2    few additional preparation days in there.

   3               In addition, we had talked about sitting on some

   4    Fridays in order to make up for some of the holidays that we

   5    are going to be losing on the schedule.                 I am prepared to

   6    effectively extend the trial by not sitting on any Fridays,

   7    which should also give three or four more days for document

   8    review to the defense if they need that.                You know, you have

   9    to remember, some of these witnesses will be on the stand for

  10    a long time and not all lawyers have to be in the courtroom

  11    working on that witness when they are there.                I am obviously

  12    not telling the defense anything it does not know, but there

  13    are ways to do track preparation during a trial as you learn

  14    what witnesses are important and what witnesses are not.

  15               Now, having said that, I do have to say to the

  16    government, I do not see any universe in which I am going to

  17    permit the government to introduce -- I think it is something

  18    like 33 individual murder conspiracies and another six group

  19    murder conspiracies.     It is way too much.             The government has

  20    to remember that this is a drug case -- it is a drug

  21    conspiracy case that involves murder, and I am not in any way

  22    going to let them try a murder conspiracy case that happens to

  23    involve drugs.    You have got to cut that number way down.                I

  24    do not know if I want to tell you six, eight, ten, twelve, but

  25    it is not going to be 33 or 38.             Not happening.     It would


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   1    completely overshadow what the indictment is in this case.

   2                I am going to instruct the government, prioritize.

   3    Decide what is your best shot what you are going to get in,

   4    and then tell the defense right away so that they are not

   5    wasting time preparing to rebut alleged murder conspiracies

   6    that I am not going to let you put on anyway.             Take your best

   7    shot and get rid of the rest.           I will cut you off in the

   8    middle of the trial, and if you have not gotten in your most

   9    important stuff at the time I do that, then you will not get

  10    in your most important stuff.           It is just out of control.

  11                Okay.   That is my ruling on the mass of papers I

  12    have received.

  13                There are a couple of other things that are pending,

  14    I am going to get orders out this week, maybe even this

  15    afternoon when I get the government's reply on the latest

  16    MILs, I will take that as well.

  17                Mr. Lichtman, I see you are dying to ask a question.

  18    Go ahead.

  19                MR. LICHTMAN:    Thank you, Judge.          One thing that

  20    might help us as well -- and this has been discussed, I

  21    believe informally, perhaps with Your Honor as well -- perhaps

  22    the government can provide to us the week before which

  23    cooperators it plans on calling the following week.

  24                THE COURT:   Sounds reasonable.

  25                MS. PARLOVECCHIO:       We are happy to do that, Your


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   1    Honor.   In fact, we had offered to do that prior to all these

   2    motions being filed.

   3               THE COURT:    Everyone here is cooperating, I

   4    understand that.

   5               MS. PARLOVECCHIO:        Correct.

   6               THE COURT:    Let's just make sure we keep it that

   7    way.

   8               MR. LICHTMAN:     Thank you, Judge.

   9               MS. PARLOVECCHIO:        Yes, Your Honor.

  10               Just, if the government may, with regard to the

  11    point about the murders.

  12               The government charged Violation 85, it is a murder

  13    conspiracy, it is also the methods and means by which this

  14    defendant ran his enterprise for 25 years.                 Many of these

  15    murders concern our cooperators who did these murders in

  16    concert with the defendant.         He conspired with them, he

  17    ordered those murders, they are part and parcel of the story.

  18    So this is not an issue of the government piling on, and, in

  19    fact, I expect the defense will want to cross-examine our

  20    witnesses about all of those murders, and that's how they've

  21    ended up in our Bill of Particulars.

  22               THE COURT:    Let me say this:               I have granted the

  23    government's direct evidence and 404(b) motion as to getting

  24    in murders.    I understand the importance.               It is very

  25    difficult for me, as I sit here today, not knowing the case as


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   1    well as any of the lawyers here, to know where the line is.

   2    Is it impossible that I will let you put in all of that

   3    Violation 85 evidence?      I suppose nothing is impossible.       I am

   4    just giving you my visceral reaction to that kind of number

   5    and telling you it is shocking to me and, therefore, it makes

   6    me think it will be very difficult for you to get anywhere

   7    near that.    I mean, to prove your point that murder was an

   8    important component of this conspiracy, do you need 38?           Now,

   9    I know you have got 38 cooperators -- or however many you

  10    have -- who can testify to those 38, but they do not have to.

  11                 I also agree with you if the defense opens the door

  12    and says, weren't you involved in this other murder?          Well,

  13    then, the door is open, and you can get that in, but I am just

  14    telling you, viscerally, looking at this case, the number you

  15    are putting forward, besides probably unnecessarily

  16    complicating the defense's preparation efforts, it just has

  17    real 403 problems as a visceral matter when I look at it, and

  18    you have got to keep that in mind and try to streamline your

  19    case, okay?

  20                 MS. PARLOVECCHIO:      Yes, Your Honor.

  21                 THE COURT:   I will see you on Monday at 9:30.       You

  22    will have an order talking about the procedures we are going

  23    to use.   I know the press has motions pending, I am going to

  24    deal with that as well this week, and so we will see you on

  25    Monday.


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   1               Thanks very much.

   2               MR. LICHTMAN:     Thank you, Your Honor.

   3               THE COURT:    Do you have something else?

   4               MS. PARLOVECCHIO:        I'm sorry, Judge, just one issue.

   5               With regard to voir dire, I know Your Honor said

   6    that there will be two attorneys from each side permitted to

   7    do the questioning.     I just wanted to confirm that the other

   8    counsel would be permitted to be present as well.

   9               THE COURT:    I do not know.                 I am thinking about it.

  10               MS. PARLOVECCHIO:        Okay.

  11               THE COURT:    I will have an order out this week one

  12    way or the other.

  13               MS. PARLOVECCHIO:        Thank you, Your Honor.

  14               MR. BALAREZO:     Your Honor, if I can follow up with

  15    that.

  16               THE COURT:    Sure.

  17               MR. BALAREZO:     Is the procedure going to be that the

  18    Court's going to do it here in the open courtroom?

  19               THE COURT:    It is all going to be in the order, but

  20    what I am contemplating is that -- wait for the order.                    Your

  21    questions will be answered; all will be revealed.

  22               MR. BALAREZO:     There is only one thing that I would

  23    like to say, though, is Mr. Guzman is not going to waive his

  24    presence at --

  25               THE COURT:    I am assuming that.                I have been


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   1    assuming that.

   2               MR. BALAREZO:       All right.

   3               THE COURT:       Okay.     Thank you all.

   4               MR. BALAREZO:       Thank you.

   5               MS. PARLOVECCHIO:          Thank you, Your Honor.

   6               (Matter concluded.)

   7

   8                            *      *        *         *        *

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  10    I certify that the foregoing is a correct transcript from the
        record of proceedings in the above-entitled matter.
  11

  12        /s/ Denise Parisi                                      October 31, 2018
        _________________________________                         ________________
  13          DENISE PARISI                                            DATE

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